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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )
                                          )            Case No. CR06-426-MJP
10         v.                             )
                                          )
11                                        )            DETENTION ORDER
     ARNOLDO NORZAGARAY-GARCIA,           )
12                                        )
                 Defendant.               )
13   ____________________________________ )

14 Offense charged:

15          Conspiracy to Distribute Heroin and Cocaine in violation of 21 U.S.C. §§ 841(a)(1),

16 841(b)(1)(B), and 846.

17   Date of Detention Hearing: June 27, 2007.

18          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

19 based upon the factual findings and statement of reasons for detention hereafter set forth,

20 finds the following:

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is a native and citizen of Mexico.

23          (2)    The Court and defendant have been advised that a detainer has been placed on

24 defendant by Immigration and Customs Enforcement.

25          (3)    Defendant has stipulated to detention, but reserves the right to contest his

26 continued detention if there is a change in circumstances.

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01          (4)    There are no conditions or combination of conditions, other than detention,

02 that will reasonably assure the appearance of defendant as required, or the safety of the

03 community.

04          IT IS THEREFORE ORDERED:

05          (1)    Defendant shall be detained pending trial and committed to the custody of the

06                 Attorney General for confinement in a corrections facility separate, to the

07                 extent practicable, from persons awaiting or serving sentences or being held in

08                 custody pending appeal;

09          (2)    Defendant shall be afforded reasonable opportunity for private consultation

10                 with counsel;

11          (3)    On order of a court of the United States or on request of an attorney for the

12                 government, the person in charge of the corrections facility in which

13                 defendant is confined shall deliver the defendant to a United States Marshal

14                 for the purpose of an appearance in connection with a court proceeding; and

15          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

16                 counsel for the defendant, to the United States Marshal, and to the United

17                 States Pretrial Services Officer.

18
                   DATED this 27th day of June, 2007.


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                                                         JAMES P. DONOHUE
21                                                       United States Magistrate Judge
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     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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